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                (b)    Absent written objection, provide the defendant with copies of the exhibits

                       and a premarked list of exhibits the government intends to offer in its

                       case-in-chief. If the government subsequently decides to offer any

                       additional exhibit in its case-in-chief, the government shall promptly

                       provide the defendant with a copy of the exhibit and a supplemental

                       exhibit list.

                Together with these disclosures, the government shall by September 21, 2021:

                (a)    Produce statements (as defined in 18 U.S.C. § 3500(e) and Fed. R. Crim.

                       P. 26.2(f)) of witnesses the government intends to call in its case-in-chief.

                (b)    Disclose to the defendant the exculpatory information identified in Local

                       Rule 116.2 that has not been previously produced.

                (c)    Disclose to the defendant a general description (including the approximate

                       date, time, and place) of any crime, wrong, or act the government proposes

                       to offer pursuant to Fed. R. Evid. 404(b), such that the defense may review

                       these disclosures and prepare any necessary motions in limine in sufficient

                       advance of the October 5 deadline for filing the same.

        5.      With respect to the defense disclosures, the defendants shall by November 2,

2021:

                (a)    Absent written objection, provide the government with the names and

                       addresses of the witnesses the defendants intend to call in their case-in-

                       chief. If the defendants subsequently form an intent to call any other

                       witness in their case-in-chief, they shall promptly notify the government

                       of the name and address of that witness.



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        (b)         Absent written objection, provide the government with copies of the

                    exhibits and a premarked list of the exhibits the defendants intend to offer

                    in their case-in-chief. If the defendants subsequently decide to offer any

                    additional exhibits in their case-in-chief, they shall promptly provide the

                    government with a copy of the exhibit and a supplemental exhibit list.

        (c)         Produce statements (as defined in 18 U.S.C. § 3500(e) and Fed. R. Crim.

                    P. 26.2(f)) of witnesses the defendants intend to call in its case-in-chief.

6.      The parties shall by November 2, 2021:

              (a)      File a written stipulation of any facts that they agree are not in dispute;

              (b)      File a list of all witnesses they may call at trial to be read to the jury

                       during voir dire;

              (c)      File a joint exhibit list of all exhibits that a party may offer at trial,

                       identified and marked by a single sequence of numbers, regardless of

                       which party is the proponent of an exhibit, with gaps as necessary to

                       reflect any documents the parties no longer may offer at trial, and

                       including notation as to those items the party expects to offer and those

                       it may offer if the need arises, and noting as to each document whether

                       the opposing party: (1) objects to the document; (2) may object to the

                       document and reserves its position on the issue at this time; or (3) has

                       no objection to the document. The list shall be filed in the form of the

                       chart in attached Appendix A, with notations regarding objections set

                       forth in column 5, and columns 6 and 7 and 8 left blank;




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                   (d)     Provide the court with a disc containing courtesy copies of all exhibits,

                           numbered according to the single sequence agreed on by the parties.

                           The exhibits shall be pre-marked with exhibit stickers containing the

                           numbering set forth in the joint list of all exhibits, and should have

                           extraneous prior exhibit numbers, exhibit stickers, or other numbering

                           removed;

                   (e)     File any objections to the other party’s proposed voir dire questions

                           and jury instructions. Objections should include citations to authority

                           where appropriate. If the objections include proposed modifications of

                           the voir dire questions or jury instructions, such proposed

                           modifications shall be presented using underlining (for proposed

                           additions) and strike-out (for proposed deletions). Parties shall also

                           provide the clerk, by email or disc, modifiable Microsoft Word copies

                           of this submission.

       7.      A hearing on Motions in Limine shall be held on October 29, 2021 at

2:30 p.m.

       8.      The Final Pretrial Conference shall be held on November 8, 2021, at 4:15 p.m.

       9.      The following period(s) of time are excluded for Speedy Trial Act purposes,

pursuant to 18 U.S.C. § 3161(h), for the reasons stated at the Initial Pretrial Conference.



Date: August 30, 2021                                 /s/ Indira Talwani _
                                                      Hon. Indira Talwani
                                                      United States District Judge




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